Case 1:24-cv-00282-RDA-WBP Document 24 Filed 03/12/25 Page 1 of 1 PagelD# 130
Case 1:24-cv-00282-RDA-WBP Document 23-1 Filed 03/07/25 Page 1 of 2 PagelD#
128

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
ALEXANDRIA DIVISION

TRUIST BANK, formerly known as Branch
Banking and Trust Company,

Civil Action No. 1:24-cv-00282-RDA-WBP

*
*
*
Plaintiff, *
#
V. *

x*%

4420 NORTH FAIRFAX LLC, et al.,

Defendants.

* + *& *

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ORDER EXTENDING DEADLINE FOR SUMMARY JUDGMENT MOTIONS

Upon consideration of the Consent Motion to Extend Deadline for Summary Judgment
Motions (the “Consent Motion”), IT IS HEREBY ORDERED as follows:

Ls The Consent Motion ts granted;

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The parties shall file any summary judgment motions by April 14, 2025; and
2. If no summary judgment motion is filed, the parties shall file a notice requesting a
final pretrial conference by April 15, 2025.

Entered this “2. day of Poko

Alexandria, Virginia

fpr D. Ce Jr.
United States District Court Judge

EDV

